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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

JAMES JOSEPH JULUKE, JR.,          )
an individual,                     )
                                   )                  Case No.:      3:19-cv-02672-M
       Plaintiff,                  )
v.                                 )
                                   )
MCKINNEY AVENUE                    )
PARTNERS, LTD.,                    )
a Texas Limited Partnership,       )
                                   )
       Defendant.                  )
__________________________________ )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff James Joseph Juluke, Jr. and Defendant McKinney Avenue Partners, Ltd., by and

through their respective undersigned counsel, and pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), hereby stipulate to the dismissal of all counts and claims asserted in this matter

with prejudice, with the parties to bear their own attorney’s fees, costs, and expenses except as may

otherwise be agreed to between the parties.

Dated: June 22, 2020

Respectfully submitted,                            Respectfully submitted,

/s/ Louis I. Mussman                                /s/ Laura L. Worsham
Louis I. Mussman                                   Laura L. Worsham
Attorney-in-charge                                 State Bar No. 22008050
Florida Bar No. 597155                             JONES, ALLEN & FUQUAY, L.L.P.
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Louis@KuMussman.com                                Counsel for Defendant

Counsel for Plaintiff
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 22nd day of June, 2020, I electronically filed the

foregoing with the Clerk of Court by using CM/ECF system which will send notice of electronic

filing to the following:

Laura L. Worsham
JONES, ALLEN & FUQUAY, L.L.P.
8828 Greenville Avenue
Dallas, Texas 75243-7143

                                   By:    /s/ Louis I. Mussman             .




                                          Louis I. Mussman
